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FII.ELJ i`_!"' l 7 V_ , :J.C.
IN THE UNITED STATES DISTRICT COURT l

WESTERN DISTRICT OF TENNESSEE 05 {_$;.\{, __,5 m m 5 2
WESTERN DIVISION AT MEMPHIS “ ‘ ‘ -

 

W.M. BARR & COMPANY, INC.
Plaintiff,
VS.

NORTH AMERICAN CAPACITY INSURANCE
C()MPANY, AS SUCCESSOR IN INTEREST TO
UNDERWRITERS INSURANCE CO AS TO
POLICY NUMBER BCG000432

No. 03-2969BA

Defendant-Third Party Plaintiff,
VS.

LEXINGTON INSURANCE COMPANY

\_I\_¢VWV~'\_/\_/W\-/VWWV\_/\_/V\_/

Third-Party Defendant.

 

ORDER GRANTING LEXINGTON INSURANCE COMPANY LEAVE
TO FILE THIRD-PARTY COMPLAINT

 

The Court, having considered the Motion of Lexington Insurance Company for Leave to

File Third-Party Cornplaint, finds that the Motion is Well-taken and should be granted

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Motion is
granted and Lexington Insurance Company is hereby granted leave to file its Third-Party

Cornplaint.

/

@RICT JUDGE J. DAN;EL BREEN

Date: mC-'\;} `('_ levi

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APPROVED:

    

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ttomey for Third-Party Defendant,
Lexington Insurance Company
BUTLER, SNOW, O'MARA,
STEVENS & CANNADA, PLLC
6075 Pop]ar Avenue, Ste. 500
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This notice confirms a copy of the document docketed as number 47 in
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Honorable J. Breen
US DISTRICT COURT

